Case 2:04-cr-20506-.]PI\/| Document 20 Filed 05/27/05 Page 1 of 3 Page|D 41

IN THE UNITED STATES DISTRICT cOURT Fuss;s'
FOR THE wEsTERN DISTRICT OF TENNESSEE
wESTERN DIVISION 35;§“_

 

 

 

UNITED STATEJS OF AMERICA
Plaintiff,

Criminal No. M-;Q USWOE:?,I\/Il

(30-Day Continuance)

`UM nw M/

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated. hy' the signatures below, the United_ States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the June, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, June 24, 2005, with trial to take place on the
July, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through July 15, 2005. Agreed in open court at

report date this 27‘:h day of May, 2005.

This document entered on the docket tesh t m cc_:\r.pi!ar;te

with Huie§- ~_ ami/orBE(b) )FRCrP on 5 ¢ZZ §:},§

 

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so ORDERED this 27th day of May, 2005.

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JO PHIPPS MCCALLA
UN 'l"ED STATES DIS'I'RICT JUDGE

 

. /]M// _. '

K_j

 

 

Assistant United States Attorney

 

 

 

 

 

 

 

   

UNITED sTATE DRISTIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
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Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

K. Jayaraman

LAW OFFICES OF K. JAYARAMAN
147 Jefferson Avenue

Ste. 804

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

